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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        OCALA DIVISION
 SANDRA LAURENTANO

           Plaintiff,

 v.                                                     CASE NO.: 5:18-cv-00285-JSM-PRL

 STERLING JEWELERS, INC., d/b/a J.B.
 ROBINSON JEWELERS and DNF
 ASSOCIATES, LLC

           Defendant.

 NOTICE OF PENDING SETTLEMENT AS TO DEFENDANT STERLING JEWELERS, INC.,
                    d/b/a J.B. ROBINSON JEWELERS ONLY

          PLAINTIFF, SANDRA LAURENTANO, by and through her undersigned counsel, hereby

submits this Notice of Pending Settlement and states that Plaintiff, SANDRA LAURENTANO, and

Defendant, STERLING JEWELERS, INC., d/b/a/ J.B. ROBINSON JEWELERS only, have reached a

settlement with regard to this case and are presently drafting, finalizing, and executing the settlement and

dismissal documents. Upon execution of same, the parties will file the appropriate dismissal documents

with the Court.

                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on this 5th day of March, 2019, a true and correct copy of the
foregoing was filed with the Clerk of the Court and served on the parties of record using the CM/ECF
system.
                                                 Respectfully submitted,

                                                 /s/Heather H. Jones
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                                                 William “Billy” Peerce Howard, Esq.
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